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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
                          _____________________________________

GEORGE ANIBOWEI,

        Plaintiff,

v.                                                       Civil Action No. 3:16-CV-3495-D

LORETTA LYNCH, Attorney General of
the United States, in her official capacity,
et al.,

        Defendants.

            DEFENDANTS’ CERTIFICATE OF INTERESTED PERSONS

        This is to certify that other than the parties to this case, the undersigned is

currently unaware of any person, organization, or other legal entity with a financial

interest in the outcome of this case.

                                                         Respectfully submitted,

                                                         JOHN R. PARKER
                                                         United States Attorney

                                                         /s/ Brian W. Stoltz
                                                         Brian W. Stoltz
                                                         Assistant United States Attorney
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                                                         Attorneys for Defendants



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                                         Certificate of Service

        On March 6, 2017, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                         /s/ Brian W. Stoltz
                                                         Brian W. Stoltz
                                                         Assistant United States Attorney




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